986 F.2d 1413
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mario FIGUEROA, Plaintiff-Appellant,v.Robert FORREST;  H. Walter, Defendants-Appellees.
    No. 92-1968.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 12, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-92-1999-K)
      Mario Figueroa, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Mario Figueroa appeals from the district court's order dismissing his civil complaint.  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Figueroa v. Forrest, No. CA-92-1999-K (D. Md. Aug. 12, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    